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n
IN THE UNITED STATES DISTRICT COURT la BY D.c.
FOR THE WESTERN DISTRICT OF TENNESSEE 95 AUG
WESTERN DIVISION 22 PH br 40
In re COPPER TUBING LITIGATION j 015 ,'?@""AS *`*"= GGULD

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Master File No. 04-2771-DV

 

AMERICAN cOPPER & BRASS, INC. and THE

BANKRUPT ESTATE OF SMITH AND WOFFORD
PLUMBING AND INDUSTRIAL SUPPLY, INC. on HOnOrabl€ Judg@ Bemi<>e B- Donald
behalf of themselves and all others Similarly siruated, Magisfrate Judge Dian€ K- VCSCOVO

Plaintiff,

V.

BOLIDEN AB, BOLIDEN FABRICATION AB,
BOLIDEN CUIVRE & ZINQ S.A., HALCOR S.A.,
HME NEDERLAND BV, IMI KYNOCH LTD.,
YORKSHIRE COPPER TUBE LTD, KM EUROPA
METAL AG, KME AMERICA INC.,
TREFIMETAUX SA, EUROPA METALLI SPA,
MUELLER INDUSTRIES, INC., WTC HOLDING
COMPANY, INC., MUELLER EUROPE LTD,
DENO HOLDING COMPANY, INC.,
OUTOKUMPU OYJ, OUTOKUMPU COPPER
PRODUCTS OY, OUTOKUMPU COPPER (U.S.A.),
INC., WIELAND WERKE AG, WIELAND
METALS, INC., AUSTRIA BUNTMETALL AG, and
BUNTMETALL AMSTETTEN GMBH,

Defendant.

 

 

ORDER GRANTING AGREED MOTION OF
DEFENDANT AUSTRIA BUNTMETALL AG FOR ADDITIONAL
TIME IN WHICH TO ANSWER, MOVE OR OTHERWISE RESPOND
The Court having considered the Motion of Defendant Austria Buntmetall AG (“Austria
Buntmetall,” or the “Moving Defendant”) for Additional Time in Which to Answer, Move or

Otherwise Respond to plaintiffs’ Consolidated Amended Class Action Cornplaint (the

“Complaint”) and finding it to be w taken,

  

ThIs document entered on the docket sh
with Rula 58 and/or 79{a} FRCP on

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IT IS HER_EBY ORDERED THAT the Motion of the Moving Defendant for Additional
Time in Which to Answer, Move or Otherwise Respond is grantedl The Moving Defenda.nt’s

time to answer, move or otherwise respond to the Complaint is extended to and including

September 14, 2005 .

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Magistrate Judge Dia.ne K. Vescovo

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ENTERED THISO?c? day cf Q; :?M_,zoos

CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that a copy of the foregoing Was duly served on
counsel for plaintiffs in this action on August 19, 2005, by delivery to the following by the
method indicated:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 157 in
case 2:04-CV-02771 Was distributed by faX, mail, or direct printing on
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EsSEE

 

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